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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION


UNITED STATES OF AMERICA


VERSUS                                                     CRIMINAL ACTION NO. 1:05CR87


SHERRY LOUCH

                                              ORDER

       This cause is before the Court on the defendant’s Motion to Continue Trial Setting and

Scheduling Order Deadlines [43-1]. The Court, having reviewed the motion and being otherwise

fully advised in the premises, finds as follows, to-wit:

       The trial of this matter is currently set for November 14, 2005. Counsel for defendant Louch

seeks a continuance in order to complete additional investigation and to consult more fully with his

client. The government does not object to the requested continuance. Based on the foregoing, the

Court finds that the defendants’ motions are well-taken and should be granted.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. § 3161(h)(8)(A),

the period of delay from November 14, 2005 until the new trial date to be set in this matter. The

time is excludable under subsection (h)(8)(A) because, given the circumstances described above, a

continuance is necessary to afford defendant additional time to investigate and prepare a defenses

to the pending charges. Therefore, the ends of justice served by the granting of this continuance

outweigh the best interests of the public and the defendants in a speedy trial.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that

       1.      The Motion to Continue Trial Setting and Scheduling Order Deadlines [43] is
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      GRANTED;

2.    That the trial of this matter is continued as to all defendants until Monday, December

      5, 2005 at 9:00 a.m. in the United States District Courthouse in Greenville,

      Mississippi;

3.    That the delay from November 14, 2005 until December 5, 2005 is excluded as set

      out above;

4.    That the deadline for filing pretrial motions is November 14, 2005;

5.    That the deadline for submitting a plea agreement is November 21, 2005.

SO ORDERED, this the 26th day of October, 2005.


                                             /s/ W. Allen Pepper, Jr.
                                             W. ALLEN PEPPER, JR.
                                             UNITED STATES DISTRICT JUDGE
